            Case 1:21-cr-00175-TJK Document 14 Filed 02/23/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                 v.                           :
                                              :       Case No: 21-MJ-195 (ZMF)
                                              :
ETHAN NORDEAN,                                :
also known as “Rufio Panman,”                 :
                                              :
                 Defendant.                   :


                                 MOTION TO UNSEAL CASE

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to unseal this case. In support thereof, the

government states as follows:

       1.        On February 2, 2021, Defendant was charged via criminal complaint with Aiding

and Abetting an Injury or Depredation Against Government Property, in violation of 18 U.S.C.

§§ 1361 and 2; Obstructing or Impeding an Official Proceeding, in violation of 18 U.S.C. §

1512(c)(2); Knowingly Entering or Remaining in any Restricted Building or Grounds Without

Lawful Authority, in violation of 18 U.S.C. §§ 1752(a)(1), (a)(2); and Violent

Entry and Disorderly Conduct on Capitol Grounds, in violation of 18 U.S.C. §§ 5104(e)(2)(D),

and (e)(2)(G).

       2.        On February 3, 2021, Defendant was arrested at his home in the Western District

of Washington, during the execution of a federal search warrant issued by the United States

District Court for the Western District of Washington.




                                                  1
            Case 1:21-cr-00175-TJK Document 14 Filed 02/23/21 Page 2 of 2




       3.      On February 8, 2021, Defendant appeared for a detention hearing in the Western

District of Washington and, after hearing a proffer evidence and arguments from the parties, the

presiding United States Magistrate set conditions for Defendant’s release. That same day, the

United States filed a motion with Chief Judge Howell seeking an order staying the release order,

and a separate order transferring Defendant to the District of Columbia for a review of the

release order. Chief Judge Howell granted the United States’ motion and issued both orders.

       4.      Undersigned counsel is aware that the Federal Public Defender’s Office for the

District of Columbia has secured appointed counsel to represent Defendant in this case.

Appointed counsel for Defendant contacted undersigned counsel and requested that this case be

unsealed so that counsel can enter an appearance on Defendant’s behalf in advance of

Defendant’s arrival in the District.

       WHEREFORE, the United States respectfully requests that the Court issue an order

unsealing this case.



                                                Respectfully submitted,

                                                 MICHAEL R. SHERWIN
                                                 Acting United States Attorney
                                                 New York Bar No. 4444188


                                         By:        /s/ James B. Nelson
                                                    JAMES B. NELSON
                                                    D.C. Bar No. 1613700
                                                    Assistant United States Attorney
                                                    Federal Major Crimes Section
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-6986
                                                    james.nelson@usdoj.gov

                                                2
